UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               11/14/2024
                                                                       :
RUBY FREEMAN and WANDREA’ MOSS,                                        :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                  -v-                                                  :
                                                                       :
RUDOLPH W. GIULIANI,                                                   :
                                                                       :      24-mc-00353 (LJL)
                                    Defendant,                         :
                                                                       :
                 -and-                                                 :
                                                                       :
ANDREW H. GIULIANI,                                                    :
                                                                       :
                                    Intervenor-Defendant               :
                                    Applicant.                         :
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---------------------------------------------------------------------- X
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RUBY FREEMAN and WANDREA’ MOSS,                                           :
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                                    Plaintiffs,                               24-cv-06563 (LJL)
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                                                                          :
                 -v-                                                      :
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RUDOLPH W. GIULIANI,                                                      :
                                                                                  ORDER
                                                                          :
                                    Defendant.                            :
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LEWIS J. LIMAN, United States District Judge:

        The Court has received attorneys Kenneth A. Caruso’s and David Labkowski’s motions for leave

to withdraw as counsel for defendant Rudolph W. Giuliani pursuant to Local Civil Rule 1.4. See Dkt.
Nos. 110–112 in 24-mc-00353 and Dkt. Nos. 79–81 in 24-cv-06563. It is hereby ORDERED that,

should Rudolph Giuliani (or any other party to this action) oppose attorneys’ motion to withdraw,

opposition papers must be served and filed no later than November 18, 2024.

         Any written response by Giuliani may be submitted in the form of a letter marked “confidential”

and delivered directly to chambers, by email addressed to LimanNYSDChambers@nysd.uscourts.gov.

In order to protect the attorney-client privilege between the defendant and his counsel, defendant is

directed to send a copy of his submission(s) to attorneys Caruso and Labkowski but not to any other

party.

         Any reply papers are due no later than November 19, 2024. To the extent attorneys Caruso and

Labkowski wish to discuss any privileged or confidential matters in their reply papers, the papers shall

be filed on the public docket with redactions, accompanied by unredacted copies filed under seal, in

compliance with the Court’s Individual Practices, see Attachment A.

         It is further ORDERED that attorneys Caruso and Labkowski shall promptly serve a copy of this

Order on Defendant, by express mail and email, and shall file a proof of service on ECF.

         The Court will be prepared to hear the parties on the motion to withdraw on November 26, 2024

at 10:00 a.m. in Courtroom 15C, 500 Pearl Street, New York, NY 10007. The Court reminds the parties

that the Court’s order of October 22, 2024, see 24-mc-00353 at Dkt. No. 62, as modified by the order of

November 8, 2024, see 24-mc-00353 at Dkt. No. 94, is still in effect and this order shall not be

construed to change any of the deadlines established therein.



         SO ORDERED.


Dated: November 14, 2024                          __________________________________
       New York, New York                                    LEWIS J. LIMAN
                                                         United States District Judge



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